Case 3:20-cv-01776-TSH Document5 Filed 03/13/20 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action

 

 

 

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District of \Califomia

 

 

 

 

 

 

 

 

 

 

 

)
SHAYNE P. MYTINGER,
)
Plaintiff(s} )
Vv. Civil Action No. 3:20-cv-01776
)
NORTHTOWN CAPITAL SERVICES )
GROUP, LLC, )
_ )
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) NORTHTOWN CAPITAL SERVICES GROUP, LLC
c/o Registered Agent
INCORP SERVICES, INC.
5716 CORSA AVE SUITE 110
WESTLAKE VILLAGE, CA 91362

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Nicholas M. Wajda

Wajda Law Group, APC
6167 Bristol Parkway, Suite 200
Culver City, California 90230

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT
\, Susan Y. Soong

Diss: _ March 13, 2020

 

 

Signature of Clerk or Deputy Clerk

 
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Civil Action No. 3:20-CV-01776-TSH

PROO? GF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for fname of individual and title, if any) NORTHTOWN CAPITAL SERVICES GROUP, LLC was
received by me on (date) Mar 20, 2020.

L_]
fad

[4
[_]

I personally served the summons on the individual at (place) on (date)
3; OF
I left the summons at the individual’s residence or usual place of abode with (name) 7a

person of suitable age and discretion who resides there, on (dave) , and mailed a copy
to the individual’s last known address; or

I served the summons on (name of individual) Steven Pickett, Authorized to Accept on behalf of Incorp
Services Inc - Agent for Service , who is designated by law to accept service of process on behalf of {name of
organization) NORTHTOWN CAPITAL SERVICES GROUP, LLC on (dare) Mon, Mar 23 2020 at 1:30PM ;

or

 

J returned the summons unexecuted because: ; or

Other: : or

I declare under penalty of perjury that this information is true.

Date: 03/24/2020
4 bs JE ey
= [

Server's signature

Barrett Douglas Gunnell Riverside County # 1583 Process Server

 

Printed name and title

4651 Brookhollew Circle, Ste. C, Riverside, CA 92509

 

Server's address

Additional information regarding attempted service, etc.:
Successful Attempt: Mar 23, 2020, 1:30 pm at COMPANY: 5716 CORSA AVENUE SUITE 110, WESTLAKE VILLAGE,

CA 91362 received by Steven Pickett, Authorized to Accept on behalf of Incorp Services Inc - Agent for Service.

Additional Document Served:
Complaint for Damages; Order Setting Initial Case Management Conference and ADR Deadlines

 
